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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA


 SYMBOLOGY INNOVATIONS, LLC,
                                                     C.A. No. 9:20-cv-80693-RS
                        Plaintiff,

        v.
                                                     JURY TRIAL DEMANDED
 IPIC THEATRES, LLC

                        Defendant.


                                     JOINT MOTION TO DISMISS

        Now come Plaintiff, Symbology Innovations, LLC and Defendant, IPIC Theatres, LLC, by

 and through their undersigned counsel, pursuant to Fed. R. Civ. P. 41, and hereby move this Court

 to dismiss all claims against Defendant IPIC Theatres, LLC WITH PREJUDICE and all

 counterclaims against Plaintiff Symbology Innovations, LLC WITHOUT PREJUDICE, with each

 party to bear its own attorneys’ fees and costs. The parties believe that the Motion to Dismiss

 currently pending [D.E. 8] in this matter is now moot.

 Dated: June 29, 2020                         Respectfully submitted,


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                                            Attorney(s) for Defendant IPIC Theatres, LLC




                               CERTIFICATE OF SERVICE


         The undersigned hereby certifies that a true and correct copy has been electronically

  filed using the CM/ECF filing system, which automatically sends email notifications to all

  counsel of record and which will permit viewing and downloading of same from the CM/ECF

  system on June 29, 2020.


                                            /s/ Howard L. Wernow
                                            Howard L. Wernow




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